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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


AFSANEH AZADEH                            )
                                          )
                                          )
                      Plaintiff           )
                                          )           Civil Action No.: 16-CV-1467
            v.                            )
                                          )
THE GOVERNMENT OF THE                     )
ISLAMIC REPUBLIC OF IRAN,                 )
                                          )
                                          )
            and                           )
                                          )
THE ARMY OF THE GUARDIANS                 )
OF THE ISLAMIC REVOLUTION                 )
                                          )
                                          )
                      Defendants          )
                                          )

 INDEX OF EXHIBITS TO PROPOSED FINDINGS OF FACT AND CONCLUSION OF
       LAW IN SUPPORT OF HER MOTION FOR DEFAULT JUDGMENT

Exhibit 1         Declaration of Afsaneh Azadeh (June 13, 2017) (under seal)
Exhibit 2         Declaration, Translation and Certificate of Shokoufeh Azadeh (May 23, 2017)
                  (under seal)
Exhibit 3         Export Report of Hadi Ghaemi (Mar. 31, 2017)
Exhibit 4         Export Report of Stuart Grassian, M.D. (Mar. 17, 2017) (under seal)
Exhibit 5         Declaration of Fariba Abdsaleh (May 9, 2017) (under seal)
Exhibit 6         Confidential Independent Neuropsychological Evaluation of Afsaneh Azadeh
                  (June 17, 2017) (under seal)
Exhibit 7         Declaration of Ray Adams (May 3, 2017) (under seal)
Exhibit 8         Declaration of Mahmoud Awad (June 7, 2017) (under seal)
Exhibit 9         Offer to Arbitrate (Aug. 3, 2016)
Exhibit 10        Export Report of Juan E. Méndez (Apr. 7, 2017)
Exhibit 11        Letter from Raymond P. Caldiero (June 6, 2017)
Exhibit 12        Economic Loss Report by Jerome Paige & Richard Lockley (June 13, 2017)
                  (under seal)
